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 1                                UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
 3                                                 ***
 4
 5    UNITED STATES OF AMERICA,                          2:10-CR-280-KJD-GWF

 6                           Plaintiff,
                                                          ORDER TO TEMPORARILY MODIFY
 7    vs.                                                CONDITIONS OF PRETRIAL RELEASE

 8    HUGO PATRICK COUTELIN,

 9                           Defendants.

10
                    Defendant, Hugo Coutelin, having moved this Court for modification of his
11
     conditions of pretrial release pursuant to 18 U.S.C. §3145 and with Pretrial Services and the
12
     Government not opposing this modification of the conditions of pretrial release,
13
                    IT IS HEREBY ORDERED THAT, Defendant Hugo Coutelin will be permitted to
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     travel to Colorado for work-related purposes with his third party custodian, Leroy Martinez, for the
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     day of December 8, 2011.
16
                    DATED this 7th
                               ___day of December, 2011.
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21                                                 UNITED STATES MAGISTRATE JUDGE

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